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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

USA,                                         )   9T




                Plaintiff,                   )
                                             )
        vs.                                  )   Case Number: CR 20-06-02
                                             )
                                             )
AMANDA NICHELLE DOWNS                        )
         Defendant.                          )
                                             )




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